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Truist d/b/a Truist d/b/a Branch Banking and Trust Company as attorney in fact for
SunTrust Bank
as attorney in fact for SunTrust Bank

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

IN RE:                                    §
                                          §   Case No. 19-42834
Muhammad Nasir Siddiqi,                   §
                                          §   Chapter
       Debtor.                            §

     MOTION TO LIFT AUTOMATIC STAY REGARDING 2015 FORD F250 AND
              WAIVER OF 30 DAY HEARING REQUIREMENT

                        14-DAY NEGATIVE NOTICE – LBR 4001(a)

        Your rights may be affected by the relief sought in this pleading. You should read
this pleading carefully and discuss it with your attorney, if you have one in this bankruptcy
case. If you oppose the relief sought by this pleading, you must file a written objection,
explaining the factual and/or legal basis for opposing the relief.

        No hearing will be conducted on this Motion unless a written objection is filed with
the Clerk of the United States Bankruptcy Court and served upon the party filing this
pleading WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE shown in the
certificate of service unless the Court shortens or extends the time for filing such objection.
If no objection is timely served and filed, this pleading shall be deemed to be unopposed,
and the Court may enter an order granting the relief sought. If an objection is filed and
served in a timely manner, the Court will thereafter set a hearing with appropriate notice.
If you fail to appear at the hearing, your objection may be stricken. The Court reserves the
right to set a hearing on any matter.




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TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Truist d/b/a Branch Banking and Trust Company as attorney in fact

for SunTrust Bank, hereinafter called Movant, and, makes this, its Motion to Lift Automatic

Stay against Debtor Muhammad Nasir Siddiqi pursuant to 11 U.S.C. § 362(d)(1) for cause,

including by reason of a lack of adequate protection of Movant's rights as a secured creditor and,

for grounds thereof, respectfully shows the Court the following:

       1.      On or about January 30, 2016, Debtor executed a Motor Vehicle Retail

Installment Sale Contract ("Contract") in the principal amount of $64,026.31 for the purchase of

a 2015 Ford F250, VIN 1FT7W2BT6FED49630, ("Collateral") to be paid over 84 payments in

the amount of $859.699 beginning on March 15, 2016. A copy of the Contract is attached as

Exhibit A and incorporated by reference. SunTrust Bank took a security interest in the Collateral

under the Contract.

       2.      On or about January 30, 2016, SunTrust Bank obtained a first priority security

interest in the Collateral. A copy of the Texas Certificate of Title is attached as Exhibit B and

incorporated by reference.

       3.      On or about December 18, 2014, SunTrust Bank executed an Irrevocable Limited

Power of Attorney that appointed Branch Banking and Trust Company as its attorney in fact

related to the Collateral. By the virtue of the Irrevocable Limited Power of Attorney, Branch

Banking and Trust Company is the holder of a secured claim against the Debtor. A copy of the

Irrevocable Limited Power of Attorney is attached as Exhibit C and incorporated by reference.

       4.      Debtor is in default on their obligations to Movant in that they have failed to make

their installment payments when due and owing pursuant to the terms of the Contract. The

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payment posted was February 6, 2020. The next due payment was February 15, 2020. A copy of

the Unsworn Declaration of Allisa Donze is attached as Exhibit D and incorporated by reference.

       5.      $15,479.82 is the post-petition delinquency under the Contract as of August 3,

2021. Ex. D.

       6.      $31,664.61 is the payoff under the Contract as of August 3, 2021. Ex. D.

       7.      Debtor is obligated to maintain physical insurance on the said vehicle. Movant

demands proof of, and maintenance of, insurance on the Collateral, listing Truist d/b/a Branch

Banking and Trust Company as attorney in fact for SunTrust Bank as loss-payee and otherwise

acceptable to Movant on the policy. If the Collateral is uninsured, it constitutes cause to

terminate the automatic stay.

       8.      Movant asks the Court to lift the Automatic Stay as it pertains to the vehicle set

out herein, and allow Movant to pursue its remedies under state law or, in the alternative, provide

adequate protection to ensure that the Movant's interests are properly preserved.

       9.      The provision of Federal Rule of Bankruptcy Procedure 4001(a)(3) should be

waived and Movant be permitted to immediately enforce and implement any order granting relief

from the automatic stay.

       WHEREFORE, PREMISES CONSIDERED, Movant prays the Court enter an Order

terminating the automatic stay to permit Movant to exercise its state law remedies pursuant to the

terms of the Retail Installment Sale Contract attached hereto. Movant further prays that the

Court waive the provision of Federal Rule of Bankruptcy Procedure 4001(a)(3) and that Movant




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be permitted to immediately enforce and implement any order granting relief from the automatic

stay.

                                           Respectfully submitted,

                                           GODWIN BOWMAN PC
                                           By: /s/ Sidney H. Scheinberg
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                                           TRUIST D/B/A BRANCH BANKING AND
                                           TRUST COMPANY AS ATTORNEY IN FACT
                                           FOR SUNTRUST BANK




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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above and foregoing Motion to Lift Automatic Stay
has been served on each of the following parties of interest via electronic notification or First
Class US Mail on this August 31, 2021, as shown:

Debtor's Attorney
Eric A. Liepins
Eric A. Liepins, P.C.
12770 Coit Rd, Ste 1100
Dallas, TX 75251

Debtor
Muhammad Nasir Siddiqi
66701 Haven Hurst Ct.
Allen, TX 75002

Trustee
Mark A. Weisbart
The Law Office of Mark A. Weisbart
12770 Coit Road, Suite 541
Dallas, TX 75251

U.S. Trustee
U.S. Trustee
110 N. College St., Suite 300
Tyler, TX 75702



                                            /s/ Sidney H. Scheinberg
                                            SIDNEY H. SCHEINBERG




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